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October 30, 2024


VIA ECF

Hon. Dale E. Ho
United States District Judge
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square, Room 905
New York, New York 10007

Re:     United States v. Adams, No. 24-Cr-556 (DEH)

Dear Judge Ho:

         I write respectfully on behalf of Mayor Eric Adams, the defendant in the above-captioned
matter, and in regards to the motions hearing scheduled for this Friday, November 1, 2024. We
are in receipt of the Court’s Order of today (ECF No. 43) and understand that the Court does not
plan to hear argument on Mayor Adams’s motion for an Evidentiary Hearing under Federal Rule
of Criminal Procedure 6(e) (ECF No. 19). Because the inquiry as to whether media leaks have
violated Rule 6(e) is necessarily “a fact specific inquiry,” United States v. Skelos, No. 15 Cr. 317
(KMW), 2015 WL 6159326, at *9 (S.D.N.Y. Oct. 20, 2015), we planned to submit exhibits and
supplement the record on Mayor Adams’s motion during Friday’s argument. In particular, we
planned to submit (1) an FBI Form 302 recently produced by the government in discovery that
confirms                                                      , contrary to the government’s position
in this case; and (2) a file showing that the reporter at The New York Times who reported most of
the leaked information in this case also has published leaked information in other corruption
prosecutions in this District going back years.

       Recently Produced FBI 302. On Monday, October 21, 2024, Mayor Adams’s counsel
received a discovery production from the government                                          .
After processing and loading this production, Mayor Adams’s counsel has discovered that one of
the documents produced by the government is an FBI 302 reflecting




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                                    . See Ex. 1.1
                                          :




                             .

Id.
                                     . As the Court is aware, the issuance of grand jury subpoenas
was leaked in this case.
                                       . See ECF No. 38 at 18-19 (“Nor is it clear that even the
articles mentioning the service of grand jury subpoenas reveal information protected by Rule
6(e).”).

         The government’s production of this lone document with clear relevance to Mayor
Adams’s motion also underscores our concern that the government has refused to produce relevant
discovery despite the pendency of this motion. Indeed, the court has ordered all discovery to be
produced by December 4, and given the seriousness of the issues presented in this motion, the
government should have prioritized production of grand jury materials relevant to the motion (such
as the transcripts of witness testimony). Instead, the government refused Mayor Adams’s written
request. In the event that Mayor Adams receives further discovery from the government
evidencing leaks of grand jury information—or that the leaks have prejudiced Mayor Adams—he
will be forced to re-open this issue if it has not already been resolved.

        Government Leaks To The Same NYT Reporter. As noted in Mayor Adams’s papers,
many of the leaks in this case were reported by William Rashbaum, a reporter at The Times. It
appears that Mr. Rashbaum has for years been a recipient of inside information from the
government, including information alleged to have violated the grand jury secrecy rule. See United
States v. Skelos, No. 15 Cr. 317 (KMW), 2018 WL 2849712, at *6 (S.D.N.Y. June 8, 2018) (same
reporter allegedly received leaks from the government); United States v. Silver, No. 15 Cr. 93
(VEC), 103 F. Supp. 3d 370, 373-74 & n.3 (S.D.N.Y. 2015) (same reporter authored article
containing alleged leaks). Mayor Adams had planned to discuss these issues in further detail with
the Court during Friday’s hearing and is accordingly submitting letters from and articles by Mr.
Rashbaum that were at issue in the Skelos case, as well as the articles by Mr. Rashbaum that were
at issue in the Silver case—both of which cases the government has argued are analogous to this
one. See Exs. 2-7. This pattern across corruption cases corroborates that the leaks here emanated
from the government, given the unlikelihood that subjects of three separate criminal investigations
leaked to the exact same reporter by happenstance.


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   Because this document reveals grand jury information under Rule 6(e), and because it is also
subject to the Protective Order in this case, Mayor Adams is submitting it under seal along with
this letter.


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       Mayor Adams believes he has met his prima facie burden to obtain an evidentiary hearing
on these important issues affecting his rights. To the extent the Court believes brief argument
would be helpful during Friday’s hearing (or at any other time), we will be prepared to address the
motion and answer any questions the Court may have.


Respectfully submitted,




Alex Spiro




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